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O

ORRICK

Official Committee of Equity Security Holders of
USA Capital Diversified Trust Deed Fund, LLC

1112 Worthen Circle

Las Vegas, NV 89145
Attn: Robert G. Worthen
Chair

FOR SERVICES RENDERED through October 31, 2006 in connection

with the matters described on the attached pages:

DISBURSEMENTS as per attached pages:

TOTAL CURRENT FEES & DISBURSEMENTS (Pay this Amount):

Matter(s): 17908/2 — USA Capital Diversified Trust Fund Commi

The following is for information only:

DUE UPON RECEIPT

Previous Balance not included in this invoice:

$882,747.51

If this amount has already been paid, please disregard.

November 27, 2006
Client No. 17908
Invoice No. 1041844

Orrick Contact: Marc A. Levinson

$ 194,875.00
2,511.08
$ 197,386.08

In order to ensure proper credit to your account,
please reference your INVOICE and CLIENT numbers on your remittance.
For inquiries, call: G04) 231-2701. Fax (304) 231-2501.

REMITTANCE COPY - PLEASE RETURN WITH PAYMENT

REMITTANCE ADDRESS:
Orrick, Herrington & Sutcliffe LLP
File 72887 P.O. Box 61000
San Francisco, CA 94161-2887
Reference: 17908/ Invoice: 1041844
ELLN. XX-XXXXXXX
OVERNIGHT DELIVERY:
Orrick, Herrington & Sutcliffe LLP
c/o Bank of America, File #72887
1455 Market Street, 21st Floor
San Francisco, CA 94103
(415) 436-4300

ELECTRONIC FUNDS
TRANSFERS:

Wire Transfers Only:
ABA Number 0260-0959-3
Bank of America
100 West 33rd Street, NY, NY 10001
Account of
Orrick, Herrington & Sutcliffe LLP
Account Number: 1499-4-10382
Reference: 17908/ Invoice: 1041844
ELLN, XX-XXXXXXX

ELECTRONIC FUNDS
TRANSFERS:

ACH Transfers Only:

ABA Number 121-000358
Bank of America

San Francisco Main Branch
Account of

Orrick, Herrington & Sutcliffe LLP
Account Number: 1499-4- 10382
Reference: 17908/ Invoice: 1041844
ELILN. XX-XXXXXXX
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Official Committee of Equity Security Holders of November 27, 2006
USA Capital Diversified Trust Deed Fund, LLC Client No. 17908
1112 Worthen Circle Invoice No. 1041844

Las Vegas, NV 89145
Attn: Robert G. Worthen
Chair Orrick Contact: Marc A. Levinson

For Legal Services Rendered Through October 31, 2006 in Connection With:

Matter: 2 - USA Capital Diversified Trust Fund Committee

Task B110 — Case Administration

10/02/06 M. Levinson Review the form of order extending 0.20 112.00
exclusivity and the A. Loraditch email
memorandum re the same (.10); review R.
Charles email memorandum to Mesirow re
preserving data in the USACM computers
and analysis re next steps on that issue
(.10).

10/02/06 L. Ernce Review draft stipulation extending 0.10 46.50
exclusivity period and A. Loraditch email
approving on behalf of Diversified
Committee.

10/03/06 M. Levinson Review the proposed form of order re 0.20 112.00
rejection of computer and other leases and
review the S. Freeman email
memorandum commenting on the same
with respect to preserving data.

10/03/06 L. Ernce Review multiple electronic notices 0.20 93.00
received today.
10/03/06 L. Emce Review draft order granting motion to 0.10 46.50

reject personal property leases and email
from S. Freeman re same.
10/04/06 M. Levinson Review recent USACM press releases and 0.30 168.00
review recent Review-Journal articles on
the cases (.10); review the First Trust
Deed committee's response re the
proposed extension of exclusivity (.10);
review follow-up email memoranda from
A. Landis and others re the form of order
rejecting the computer leases (.10).
10/04/06 L. Emce Exchange emails with C. Harvick re 0.10 46.50
availability of debtors' financial statements
per request for investors.
10/04/06 L. Emnce Review electronic notices received today. 0.20 93.00
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page 2
10/05/06 L. Ernce Telephone conference with M. Levinson 0.20 93.00
re various case status matters.
10/05/06 L. Ernce Review email from A. Landis and article 0.10 46.50
re M. Olson's departure from USA
Commercial.
10/06/06 L. Ernce Review order extending exclusivity 0.20 93.00
period; email memo to Diversified
Committee professionals re same and
attention to calendaring matters.
10/09/06 L. Ernce Review email from C. Harvick re tax 0.10 46.50
reporting issues.
10/10/06 M. Levinson Review a number of email memoranda 0.10 56.00

from 8. Smith, A. Loraditch and others re
the form of order approving the
employment of ordinary course
professionals and email memorandum to
A. Loraditch re the same.
10/10/06 L. Ernce Review electronic notices including notice 0.20 93.00
re debtors' motion to seal and exchange
emails with A. Loraditch re same.
10/11/06 L. Ernce Review proposed order re motion to 0.40 186.00
compel disclosure of First Trust Deed
Fund investor information to First Trust
Deed Fund Committee (.10); email memo
to A. Loraditch and M. Levinson re same
and suggesting Diversified Committee
approach debtors for same relief (.10);
review A. Loraditch response and email
A. Loraditch with additional thoughts
(.10); further email exchanges with A.
Loraditch and M. Levinson re same (.10).
10/11/06 L. Emce Review draft proposed order approving 0.20 93.00
debtors' retention of ordinary course
professionals (.10); review emails from S.
Freeman and A. Loraditch re statutory
standards for reviewing ordinary course
professionals' fees (.10).
10/12/06 L. Emce Review proposed interim order 0.20 93.00
authorizing Mesirow employment (.10);
review revised form of proposed order on
ordinary course professionals retention
motion (.10).
10/13/06 L. Ernce Review U.S. Trustee opposition to 0.20 93.00
debtors’ motion to retain certain
professionals and email memo to
Diversified Fund professionals
summarizing objection.
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10/13/06 L. Ernce Review joinders of the JV Direct Lenders 0.10 46.50

in opposition to Silver Point transaction
and to debtors' employee retention plan.
10/14/06 M. Levinson Review and re-review numerous email 2.30 1,288.00
memoranda and documents from last week
in preparation for the next week generally,
and the Diversified Committee and all-
hands conferences calls tomorrow in
particular.
10/16/06 M. Levinson Review the order approving the FTDF 0.10 56.00
motion to compel disclosure of interest
holders, the L. Ernce email memorandum
re the same and respond to L. Ernce and to
A. Loraditch re next steps.
10/16/06 L. Ernce Review signed order on First Trust 0.10 46.50
Committee's motion to compel disclosure
of First Trust Deed Fund member list and
email memo to A. Loraditch re same and
next steps about approaching debtors for
similar relief.
10/17/06 M. Levinson Telephone conversation with M. Cohen 0.20 112.00
and S. Werth re their firm's possible
representation of a borrower and re case
background.
10/18/06 M. Levinson Review C. Harvick email memorandum re 0.20 112.00
. the next interim distribution, the B. Olson
response thereto and the C. Harvick reply
(.10); review the exchange of email
memoranda between S. Smith and C.
Harvick re the proposed distribution and
re the Diversified Committee's approval
thereof and review G. Garman's comment
thereon (.10).
10/18/06 L. Ernce Emails to Diversified Committee 0.10 46.50
professionals re filing of funds' operating
agreements with the court and related
matters.
10/20/06 L. Ernce Obtain debtors’ monthly operating reports 0.20 93.00
- for September 2006 from electronic
notices received today (.10); email to
Diversified Committee professionals
transmitting debtors’ monthly operating
reports for September 2006 and re no
report yet for USA Commercial (.10).
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10/23/06 M. Levinson Email memorandum to J. Edwards 0.20 112.00
forwarding the Diversified Committee
website posting re the disallowance of the
Prospect High Income Fund claim and
send a follow-up email memorandum to
the Diversified Committee professionals
re the same.
10/24/06 M. Levinson Long telephone conversation with A. 0.40 224.00
Loraditch and B. Olson re the status of the
plan and Investment Partners discussions,
re the bid procedures and employee
compensation matters on calendar for
tomorrow and re other status matters.
10/24/06 L. Ernce Review U.S. Trustee motion to convert 0.20 93.00
cases to chapter 7 and A. Loraditch email
re same.
10/24/06 J. Hermann Review and analysis of US Trustee's 0.50 285.00
motion to convert all cases and
formulation of responses to issues raised
as part of such review.
10/24/06 L. Ernce Confer with M. Levinson re staffing for 0.10 46.50
tomorrow's hearings and review emails re
same.
10/25/06 M. Levinson Review the U.S. Trustee's motion to 0.90 504.00
convert the five cases to chapter 7 (.20);
telephone conversation with E. Karasik re
the same (.10); portion of conference with
L. Ernce devoted to responding to the
motion to convert (.20); portion of
conference with L. Ernce devoted to case
administration and status matters (.10);
portion of telephone conversation with R.
Charles re next steps with respect to the
motion to convert and brief telephone
conversation with L. Ernce re the same
(.10); review S. Strong, A. Loraditch and
L. Ernce email memoranda re the debtors’
response to the motion and re the possible
joinder by the Diversified Committee in it
(.10); exchange follow-up email
memoranda with E. Karasik re today's
hearings (.10).
10/25/06 L. Ernce Confer with M. Levinson re various case 0.20 93.00
administration matters.
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10/25/06 L. Ernce Confer with M. Levinson re responding to 0.40 186.00
U.S. Trustee motion to convert case to
chapter 7 (.20); email to A. Jarvis and S.
Strong re including me in emails on draft
response to U.S. Trustee motion and
exchange emails with A. Loraditch re
same (.10).
10/26/06 M. Levinson Telephone conversation with A. Loraditch 0.90 504.00

re the upcoming hearing on the motion to
convert the cases, the cash management
motion and the intercompany claims
motion and re a number of case status
matters (.20); review the draft response to
the motion to convert drafted by S. Strong
(.20); email memorandum to S. Strong re
my comments to the draft (.10); follow-up
email memorandum to L. Ernce, A.
Loraditch and B. Olson re the same (.10);
review the draft response to the motion to
convert drafted by A. Parlen (.20); follow-
up email memorandum to L. Ernce, A.
Loraditch and B. Olson re the same (.10).

10/26/06 L. Ernce Review debtors’ draft response to U.S. 0.50 232.50
Trustee motion to convert cases (.20);
review M. Levinson emails to S. Strong
and to Diversified Committee
professionals re same (.10); review First
Trust Committee's opposition to U.S.
Trustee motion to convert cases (.20);
review M. Levinson email to Diversified
Committee professionals re same and next
steps and review A. Loraditch response
(.10).

10/27/06 M. Levinson Review the responses to the motion to 0.80. 448.00
convert the cases prepared by the USACM
Committee and by the First Trust
Committee and review the declarations in
support thereof (.30); telephone
conversation with L. Ernce re the form of
response by the Diversified Committee
and exchange follow-up email memoranda
re the same (.10); review and revise the
draft Diversified Committee response
(.30); review and participate in a chain of
email memoranda re the oppositions of the
various committees to the motion (.10).
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10/27/06 L. Ernce Review First Trust Deed Committee's 1.50 697.50
finalized opposition to U.S. Trustee
motion to convert cases and supporting
declaration of M. Kvarda (.20); review
USACM Committee's opposition to U.S.
Trustee motion to convert cases and Direct
Lenders' Committee's joinder (.10); draft
and revise Diversified Committee's
opposition to convert cases (.50); review
M. Levinson comments to same and
conference with M. Levinson re same
(.20); revise and finalize Diversified
Committee's opposition (.20); email to A.
Loraditch re same and telephone
conference with A. Loraditch re finalizing
and filing same (.20); review debtors'
finalized opposition to conversion motion
(.10).
10/28/06 M. Levinson Review email memoranda, pleadings and 1.20 672.00
documents from the prior week in
preparation for the upcoming week.
10/30/06 M. Levinson Telephone conversation with M. Cohen, 0.20 112.00
counsel for a borrower, re case status and
the possible workout of his client's loan.
10/30/06 M. Levinson Exchange email memoranda with and 0.70 392.00
telephone conversation with A. Loraditch
re the omnibus hearing later this morning
(.20); telephone conversation with A.
Loraditch from the courthouse following
the denial of the motion to convert the
cases (.10); review A. Loraditch email
memorandum re the results of the hearings
following the break and exchange brief
follow-up email memoranda with A.
Loraditch (.10); review the draft form of
order extending confirmation exclusivity
to December 31st and review various
email memoranda re the same (.10);
review C. Harvick email memorandum re
his conversation with J. Reed re the
management services rendered to
Diversified Fund and respond to C.
Harvick, M. Tucker and J. Hermann (.20).
10/30/06 L. Ernce Review multiple electronic notices 0.20 93.00
received today.
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10/30/06 L. Ermce Conferences with M. Levinson re various 0.30 139.50
case status matters including the outcome
of today's hearing and preparations for
tomorrow's Diversified Committee
meeting.
10/31/06 L. Ernce Review order approving continued 0.10 46.50

employment of debtors! professionals on
an interim basis and email to Diversified
Committee professionals re same.
10/31/06 L. Ernce Review news article in Las Vegas Review 0.10 46.50
Journal re yesterday's hearing on motion
to convert cases to chapter 7 and email to
Diversified Committee professionals re
same.
10/31/06 M. Levinson Exchange of email memoranda with A. 0.40 224.00
Loraditch and C. Harvick re management
services rendered to Diversified Fund
(.20); review the draft order extending
confirmation exclusivity and email
memoranda re the same from C. Pajak, A.
Loraditch and others (.10); review the
order re timing of the filing of the
amended disclosure statement and of
objections thereto and review a number of
brief email memoranda re the same (.10)
10/31/06 L. Ernce Review and respond to email from M. . 0.20 93.00
Tucker requesting information on monthly
fee statements of debtors' professionals.

BI10— Case Administration Total 16.60 8,655.00
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 6.80 465.00 3,162.00
Jeffery D. Hermann 0.50 570.00 285.00
Marc A. Levinson 9.30 560.00 5,208.00

Total All Timekeepers 16.60 $521.39 $8,655.00
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Task B120 — Asset Analysis and Recovery

10/01/06 M. Levinson Review a number of C. Harvick, J. 0.20 112.00
Hermann and other email memoranda
relating to collecting the Colt loans and
related strategic issues.
10/02/06 J. Hermann Telephone conference with R. Charles 1.60 912.00
regarding concerns regarding sale of
Royal Hotel and related matters (.20);
telephone conference with S. Strong, R.
Charles regarding the same and means of
ensuring that monies will flow to debtors
upon closing (.40); review and analysis of
title report on Royal Hotel (.50);
preparation of and participate in exchange
of email correspondence regarding the
same with Diversified Committee, debtor
and USACM Committee professionals
(.50).
10/03/06 M. Levinson Portion of a very long telephone 0.80 448.00
conversation with T. Allison, S. Strong,
M. Tucker, C. Harvick and J. Hermann
devoted to possible offers for assets of the
Diversified Fund and to collection of the
Colt loan (.60); review B. Olson email
memorandum re the USACM setoff of
Diversified collections and analysis re
next steps on that issue (.20).
10/03/06 J. Hermann Telephone conference with C. Orrock 0.50 285.00
regarding further discussion of court
proceedings last Thursday to expunge the
equitable lien of Great White Investments
on Royal Hotel and regarding other issues
in connection with imminent closing of
sale escrow for Royal Hotel.
10/03/06 J. Hermann Portion of conference call with T. Allison, 0.60 342.00
S. Strong, C. Harvick, M. Tucker and M.
Levinson regarding issues in connection
with closing of escrow for sale of Royal
Hotel, the closing of the Hotel Zoso,
recent efforts to obtain repayment of Colt
Gateway loans from HFA entities, and
regarding numerous related matters and
issues in connection with sales of Epic
condominiums.
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10/03/06 J. Hermann Telephone conference with M. Tucker and 0.70 399.00
M. Levinson regarding imminent closing
Royal Hotel sale and numerous issues
occasioned by the same, including
encumbrances disclosed by title
commitment.
10/04/06 M. Levinson Portion of a telephone conversation with 0.30 168.00

M. Tucker re seeking proposals for
Diversified Fund assets (.20); portion of a
telephone conversation with A. Jarvis
devoted to the same (.10).
10/04/06 J. Hermann Review and analysis of calculation of 1.50 855.00
amounts owing under Sheraton Hotel loan
as the same relates to irrevocable escrow
instruction on sale of Hotel Zoso (.40);
review and revise irrevocable escrow
instructions to incorporate the same (.50);
further preparation of other transaction
documents necessary to assure receipt of
funds from escrow (.60).
10/05/06 J. Hermann Telephone conference with A. Jarvis and 1.30 741.00
T. Allison regarding recent discussions
with borrower on Colt Gateway loan,
prospects for repayment and request of
borrower to subordinate to new lender
(.20); telephone conference with M.
Tucker, C. Harvick and M. Levinson
regarding handling of further efforts to
participate in collection of Colt Gateway
loans and handling of servicing of the
same and related issues (.90); review and
analysis of servicing agreements and
applicable statutes in connection with the
same (.20).
10/05/06 M. Levinson Portion of a long conversation with M. 0.20 112.00
Tucker, C. Harvick and J. Hermann
devoted to issues relating to the Colt loans
and related matters.
10/06/06 _L. Ernce Review M. Levinson email memo re his 0.10 46.50
call with R. Walker re Royal Hotel and
Hotel Zoso and next steps.
10/08/06 M. Levinson Review lengthy B. Olson email and brief 0.20 112.00
A. Loraditch follow-up email
memorandum re their review of financing
statements filed in Connecticut against the
various Colt entities.
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10/09/06 M. Levinson Review and analyze R. Charles 0.30 168.00

correspondence re the ability of
Diversified Fund to offset its claim against
USACM, analysis re next steps in light of
the same and brief email memorandum to
A. Englund re the same.
10/10/06 M. Levinson Conference with A. Englund re 0.40 224.00
background in connection with her
researching the R. Charles-raised issue
about Diversified's ability to offset
USACM's alleged fraudulent transfer
claim (.20); telephone conversation with
B. Olson and A. Loraditch re another
aspect of the alleged fraudulent transfer
claim (.20).
10/10/06 A. Englund Telephone conference with M. Levinson 0.60 276.00
regarding background information for
fraudulent transfer defense research (.20);
review pleadings for background (.40).
10/12/06 M. Levinson Exchange a series of email memoranda 0.10 56.00
and voicemail messages with A. Englund
re a setoff related research project.
10/12/06 A. Englund Review cases regarding setoff provided in 0.80 368.00
letter from R. Charles (.60); exchange
detailed telephone messages with M.
Levinson regarding same (.20).
10/13/06 A. Englund Continue research and analysis of 1.20 552.00
fraudulent transfer claims (.90); email M.
Levinson summarizing same (.30).
10/16/06 M. Levinson Review C. Harvick and B. Olson email 0.10 56.00
memoranda re the Colt loans and Colt
properties.
10/18/06 L. Ermce Review S. Strong email and motion filed 0.30 139.50
under seal subject to confidentiality
agreement.
10/23/06 L. Ernce Review debtors' loan summaries as of 0.30 139.50
September 30, 2006 and email to
Diversified Professionals re same.
10/26/06 J. Hermann Participation in conference call with A. 1.20 684.00
Jarvis, R. Charles, S. Freeman, T. Allison,
and M. Levinson regarding status of
attempts to negotiate on closing of Hotel
Zoso and litigation theories and
alternatives available against Investment
Partners, J. Milanowski and T. Hantges
with respect to the same and generally.
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10/26/06 J. Hermann Prepare email correspondence to D. 0.30 171.00

Tyukody regarding securities violations of
USACM and/or Investment Partners in
connection with ongoing negotiations on
plan of reorganization issues (.20); review
and analysis of file materials in connection
with the same (.10).
10/26/06 M. Levinson Review J. Hermann email memorandum 0.10 56.00
to D. Tyukody re the Diversified Fund's
possible claims against USACM and other
affiliates.
10/27/06 J. Hermann Review and analysis of file materials for 0.30 171.00
information necessary for lien against
Hotel Zoso and Royal Hotel (.20);
participate in exchange of email
correspondence regarding the same with
debtor professionals and Diversified
Committee professionals (.10).

B120 ~ Asset Analysis and Recovery Total 14,00 7,593.50
Timekeeper Summary Hours Rate Amount
Alyssa D. Englund 2.60 460.00 1,196.00
Lynn T. Ernce 0.70 465.00 325.50
Jeffery D. Hermann 8.00 570.00 4,560.00
Marc A. Levinson 2.70 560.00 1,512.00

Total All Timekeepers 14.00 $542.39 $7,593.50
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Task B152 — Meetings & Communications with other Committees

10/07/06 M. Levinson Exchange of email memoranda with 0.10 56.00
numerous committee and debtors’
professionals re scheduling an all-hands
conference call.

10/08/06 M. Levinson Exchange of email memoranda with 0.10 56.00
various counsel re tomorrow's all-hands
call.

10/09/06 M. Levinson Participate in all-hands conference call 1.20 672.00

covering a number of issues including fee
allocation, the Silver Point asset purchase
agreement, intercompany claims, plan and
disclosure statement and other issues
(.80); follow-up telephone conversation
with G. Garman (.10); exchange follow-up
email memoranda with J. Hermann and M.
Tucker re a possible all-hands meeting,
another telephone conversation with G.
Garman re the same, telephone
conversation with M. Tucker re the same
and follow-up voicemail message to G.
Garman (.20); exchange follow-up
voicemail messages with G. Garman and
telephone conversation with G. Garman
(.10).
10/09/06 J. Hermann Participate in exchange of email 0.90 513.00
correspondence with all estate
professionals regarding all hands call
(.10); participate in conference call with
all estate professionals regarding
coordination of efforts, status of all
matters on court's docket, and numerous
related topics (.80).
10/15/06 M. Levinson Exchange email memoranda with A. 0.10 56.00
Jarvis, E. Karasik, R. Charles and others re
tomorrow's all-hands call.
10/16/06 M. Levinson Exchange a series of email memoranda 0.10 56.00
with A. Jarvis, E. Karasik, J. Gordon, R.
Charles and others re the next all-hands
conference call.
10/17/06 M. Levinson Long all-hands conference call re Silver 0.80 448.00
Point asset purchase agreement and bid
procedures, plan negotiation status,
Investment Partners issues, intercompany
claims and other matters.
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Participate in conference call with
professionals of all committees and
debtors regarding status of outstanding
issues including matters set for hearing
this week, status of negotiations with
Silver Point on bidding procedures and
related issues and ongoing plan of
reorganization negotiations.

10/17/06 J. Hermann

BI52 — Meetings & Communications with other Committees Total

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November 27, 2006
Invoice No. 1041844

0.80 456.00

4.10 2,313.00

Timekeeper Summary Hours Rate Amount
Jeffery D. Hermann 1.70 570.00 969.00
Marc A. Levinson 2.40 560.00 1,344.00

Total All Timekeepers 4.10 $564.15 $2,313.00
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Task B153 — Meetings & Communications with the Committee or members of the Committee

10/03/06 L. Ernce Exchange emails with R. Worthen re 0.30 139.50
status of his review of latest version of
letter to Diversified Fund investors and
review voicemail from R. Worthen re
same (.20); email to M. Levinson re status
of investor letter (.10).
10/04/06 M. Levinson Telephone conversation with A. Loraditch 0.40 224.00
and L. Ernce re scheduling a Diversified
Committee call and re various issues to be
discussed during such call (.20); review L.
Ernce email memorandum to the
Diversified Committee scheduling a
conference call and review responses from
Committee members thereto (.20).
10/04/06 L. Ernce Email memo to Diversified Committee re 0.50 232.50
finalized letter from R. Worthen to
investors and that letter will be mailed and
posted to Diversified Committee's website
(.10); review S. Katz email requesting
status and telephone conference with M.
Levinson re same and scheduling next
meeting (.20); email memo to Diversified
Committee re next meeting and review
responses (.20).
10/04/06 L. Ernce Telephone conference with M. Levinson 0.20 93.00
and A. Loraditch re agenda for next
Diversified Committee call and re setting
up call.
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10/05/06 M. Levinson Review various email memoranda from 1.30 728.00
Diversified Committee members and L.
Ernce re tomorrow's conference call (.10);
draft an agenda for tomorrow's call and
email the same to the Diversified
Committee professionals (.20); telephone
conversation with L. Ernce re further
preparation for tomorrow's call and re
circulating the agenda to members of the
Diversified Committee (.10); review T.
Lawyer email memorandum to the
Diversified Committee re his meeting
today with J. Milanowski and email the
Diversified Committee professionals re
next steps in light of the same (.20); email
memorandum to the Diversified
Committee re the same (.20); review a
number of brief responsive email
memoranda from Committee members
and L. Ernce (.10); review two G. Kantor
email memoranda re his thoughts on plan
of reorganization, Investment Partners and
other issues (.10); portion of a very long
telephone conversation with C. Harvick,
M. Tucker and J. Hermann devoted to
preparing for tomorrow's Diversified
Committee call (.20); review lengthy M.
Tucker email memorandum to the
Committee in preparation for tomorrow's
call (.10).

10/05/06 L. Ernce Telephone conference with M. Levinson 0.10 46.50
re tomorrow's Diversified Committee
meeting and related matters.

10/05/06 L. Ernce Review emails from Diversified 0.50 232.50
Committee members re availability for
meeting (.10); emails to Diversified
Committee professionals re same and
recommendation to proceed with meeting
tomorrow (.10); review M. Levinson email
re same and preparing agenda for call
(.10); email memo to Diversified
Committee with agenda for tomorrow's
call (.20).

10/05/06 L. Emnce Review T. Lawyer email to Diversified 0.20 93.00
Committee and review M. Levinson
emails re same and adding to meeting
agenda for tomorrow (.10); exchange
emails with Diversified Committee
professionals re tomorrow's meeting (.10).
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10/06/06 J. Hermann Participate in conference call with 1.70 969.00

Diversified Committee members and
professionals regarding recent events and
decisions with respect to matters involving
Investment Partners, and numerous related
matters (1.50); telephone conference with
M. Levinson regarding the same and
follow-up issues (.20).

10/06/06 M. Levinson Continue preparing for the upcoming 1.70 952.00
Diversified Committee conference call,
including the exchange of email
memoranda with L. Ernce and others re
the agenda (.30); participate in most of
this morning's Diversified Committee
conference call (1.40).

10/06/06 L. Ernce Participate in Diversified Committee 1.70 790.50
conference call.
10/06/06 L. Emce Exchange emails with J. Miller at BMC 0.20 93.00

Group re status of mailing of letter to
Diversified Fund investors and related
matters (.10); review email from J. Miller
and latest list of Diversified Fund investor
names and addresses (.10).

10/11/06 M. Levinson Email memorandum to the Diversified 1.70 952.00
Committee and professionals re an
emergency call today and re yesterday's
Investment Partners developments (.20);
exchange follow-up email memoranda
with M. Tucker, L. Ernce and various
members of the Committee (.20);
telephone conversation with S. Katz and
L. Ernce re the upcoming Committee call
(.10); long Diversified Committee
conference call (1.20).

10/11/06 L. Ernce Review M. Levinson email to Diversified 1.70 790.50
Committee re new information about
Investment Partners and related matters
and need for holding Diversified
Committee meeting on short notice (.10);
exchange emails with M. Levinson re
same (.10); voicemail and email to J.
Pulliam re gathering Diversified
Committee members on short notice (.10);
telephone conference with M. Schmahl re
today's meeting (.10); participate in
Diversified Committee meeting (1.20);
telephone conference with M. Levinson
after meeting re next steps (.10).
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10/12/06 M. Levinson Long telephone conversation re 0.90 504.00

Investment Partners, plan and other issues
with M. Schmahl, R. Mason and L. Ernce
(.80); voicemail message from B. Hardy,
voicemail message to L. Emce re the same
and exchange follow-up email memoranda
with L. Ernce (.10).
10/12/06 L. Emce Participate in portion of long telephone 0.80 372.00
conference with M. Schmahl, R. Mason .
and M. Levinson re various strategies for
dealing with Investment Partners
developments (.60); review follow-up
email from R. Mason re same (.10); confer
with M. Levinson re same (.10).
10/12/06 L. Ernce Review M. Levinson voicemail and 0.20 93.00
voicemail from R. Hardy (.10); telephone
conference with R. Hardy (.10).
10/13/06 M. Levinson Email memorandum to members of the 0.20 112.00
Diversified Committee re scheduling the
next meeting and review follow-up email
memoranda from several Diversified
Committee members and L. Ernce.
10/13/06 L. Emnce Review M. Levinson email to Diversified 0.10 46.50
Committee re meeting to discuss latest
developments and review responses.
10/14/06 M. Levinson Review email memoranda from various 0.10 56.00
Diversified Committee members and
forward the same to L. Ernce.
10/15/06 M. Levinson Email memorandum to B. Olson and A. 0.20 112.00
Loraditch in preparation for one of the
issues to be discussed at tomorrow's
Diversified Committee conference call
(.10); review email memoranda from
Committee members re tomorrow's call,
exchange email memoranda with L. Ernce
re the same and review L. Ernce email
memorandum to the Committee members
who have not responded about the call
(.10).
10/15/06 L. Ernce Exchange emails with M. Levinson re 0.10 46.50
Monday's meeting of the Diversified
Committee and email memo to certain
Diversified Committee members re same.
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10/16/06 M. Levinson Telephone conversation with A. Loraditch 2.70 1,512.00
and B. Olson in preparation for the
upcoming Diversified Committee
conference call (.20); telephone
conversation with M. Tucker and J.
Hermann in preparation for the upcoming
call, with A. Jarvis for part (.50); final
preparation for the Diversified Committee
conference call (.30); very long
Diversified Committee conference call
(1.30); long follow-up telephone
conversation with M. Schmahl (.40).
10/16/06 L. Ernce Attend Diversified Committee conference 1.30 604.50
call.
10/16/06 ‘J. Hermann Telephone conference with M. Tucker and 1.50 855.00
M. Levinson regarding agenda for
Diversified Committee meeting (.30);
participate in conference call with
Diversified Committee members and
professionals regarding recent events, in
particular in connection with Investment
Partners strategy and recent plan
negotiations (1.20).
10/17/06 M. Levinson Review lengthy C. Harvick email 0.20 112.00
memorandum to the Diversified
Committee re the proposed employee
retention program and send a responsive
email memorandum to C. Harvick and
other Diversified Committee

professionals.

10/18/06 M. Levinson Exchange email memoranda with M. 0.10 56.00
Schmahl re today's meeting with J.
Milanowski.

10/20/06 L. Ermce Draft email memo to Diversified 0.10 46.50

Committee re denial of the Prospect High
Income Fund claim.
10/25/06 M. Levinson Portion of conference with L. Ernce 0.10 56.00
devoted to arranging for a Diversified
Committee meeting on October 27th and
review L. Ernce email memorandum to the
members of the Committee and the
Comunittee professionals re the same.
10/25/06 L. Ernce Email memo to Diversified Committee re 0.10 46.50
scheduling next meeting and review
responses from certain Committee
members re availability.
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10/26/06 M. Levinson Review brief email memoranda from 0.60 336.00

Diversified Committee members, L. Ernce
and A. Loraditch re tomorrow's
conference call (.10); telephone
conversation with M. Schmahl re the
settlement negotiations with the other
committees and the status of the
Investment Partners negotiations (.30);
telephone conversation with R. Worthen
about tomorrow's Diversified Committee
call and re status matters, generally (.20).
10/26/06 L. Ernce Follow-up email memo to Diversified 0.10 46.50
Committee re next conference call and
exchange emails with A. Loraditch re
same.
10/27/06 L. Ernce Participate in Diversified Committee call 1.10 511.50
(1.00); email to Diversified Committee re
scheduling of next meeting (.10).
10/27/06 M. Levinson Continue preparing for this morning's 1.90 1,064.00
Diversified Committee conference call
(.30); long telephone conversation with S.
Katz re case, plan and Investment Partners
status because she will miss the
Committee call (.40); long Diversified
Committee conference call (.90);
telephone conversation with M. Schmahl
re this morning's Diversified Committee
conference call, re plan and Investment
Partners status, and re a number of other
topics (.30).
10/27/06 J. Hermann Telephone conference with M. Levinson 1.10 627.00
regarding issues for Diversified
Committee meeting (.20); participate in
Diversified Committee meeting by
conference call regarding recent
developments on all fronts and decisions

to be made (.90).

10/27/06 L. Ernce Email to Diversified Committee re next 0.10 46.50
committee meeting.

10/30/06 M. Levinson Draft and revise email memorandum to 0.60 336.00

the Diversified Committee re tomorrow's
conference call and re the draft term sheet
sent under cover of such email
memorandum (.20); review and revise the
J. Hermann draft comments to the term
sheet to be transmitted to members of the
Diversified Committee (.20); finalize the
edits to the comments and finalize and
transmit the email memorandum (.20).
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10/31/06 L. Ernce Participate in Diversified Committee call. 1.00 465.00
10/31/06 M. Levinson Participate in long Diversified Committee 1.10 616.00

conference call (1.00); follow-up email
memorandum to the members of the
Diversified Committee (.10).
10/31/06 J. Hermann Participate in conference call with 0.60 342.00
Diversified Committee members and
‘discussion of outstanding matters bearing
upon decisions to be made by Diversified

Committee.
B153 — Meetings & Communications with the Committee or members of the 29.10 15,357.00
Committee Total
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 10.40 465.00 4,836.00
Jeffery D. Hermann 4.90 570.00 2,793.00
Marc A. Levinson 13.80 560.00 7,728.00

Total All Timekeepers 29.10 $527.73 $15,357.00
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Task B154 — Meetings & Communications with the Creditors or Equity holders

10/02/06 L. Ernce Review voicemail from and return 0.30 139.50
telephone call to investor P. Sindler (.10);
return telephone call from investor B.
Cummins (.10); review email from
investor D. Medeiros and review investor
list (.10).
10/03/06 M. Levinson Long telephone conversation with 0.40 224.00
Diversified Fund investor A. Olson re case
status and next steps (.30); telephone
conversation with Diversified Fund
investor R. Sharpe (.10).
10/03/06 L. Ernce Email memo to investor D. Medeiros 0.30 139.50
responding to his inquiries (.10);
telephone conference with investor (.20).
10/04/06 M. Levinson Telephone conversation with L. Ernce re 0.40 224.00
the status of the letter to Diversified Fund
investors, including R. Worthen's and C.
Harvick's comments thereto (.10); review
an exchange of email memoranda between
C. Harvick and L. Ernce concerning
certain inquiries by investors (.10); review
several L. Ernce email memoranda to
investors (.10); review L. Ernce and K.
Miller email memoranda re mailing by
BMC of the letter to investors and review
the L. Ernce email memorandum to A.
Jarvis requesting funding for the same
(.10).
10/04/06 L. Ernce Telephone call from with J. Stine re 1.20 558.00
investor W. Stine and email memo to J.
Stine (.50); telephone call from investor C.
Kerlinski (.10); review email from
investor K. Miller (.10); conference with
M. Levinson re response and email memo
to investor K. Miller (.20); review
Diversified Fund schedules to respond to
question from J. Stine and email to J. Stine
re same (.20); review email response from
investor K. Miller and conference with M.
Levinson re same (.10).
10/04/06 L. Ernce Telephone conference with M. Levinson 0.20 93.00
re communications with investors and
related topics.
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10/04/06 L. Ermce Telephone conference with J. Miller at 0.40 186.00

BMC Group re logistics for BMC Group
to mail out letters to Diversified Fund
investors and related matters (.20); email
memo to A. Jarvis and S. Strong re
intention to mail out letter to Diversified
Fund investors and re procedures for
billing debtor directly (.10); exchange
emails with J. Miller re timing for sending
out investor letter and related issues (.10).
10/05/06 M. Levinson Review the email memorandum from 0.20 112.00
Diversified investor K. Miller and the L.
Ernce email memorandum re the same,
and telephone conversation with L. Ernce
re the same.
10/05/06 ~L. Ernce Telephone conference with M. Levinson 0.10 46.50
re responding to inquiries from investor K.
Miller.
10/05/06 ~L. Ernce Telephone call from investor J. Palmer. 0.30 139.50
10/05/06 ~L. Ernce Another telephone conference with M. 0.10 46.50
Levinson re communications with
investors.
10/06/06 M. Levinson Review the exchange of L. Ernce and K. 0.10 56.00
Miller re the transmission of the lengthy
R. Worthen correspondence to all
Diversified investors.
10/06/06 L. Ernce Telephone call from investor N. Nagy. 0.20 93.00
10/09/06 M. Levinson Review L. Ernce and C. Harvick email 0.10 56.00
memoranda re the inquiry from
Diversified Fund investor S. Novara, and
review L. Ernce response to S. Novara.

10/10/06 M. Levinson Telephone conversation with Diversified 0.10 56.00
investor D. Van Hatten.
10/10/06 L. Ernce Review email re investor request for 0.20 93.00

information on K-1 forms; email to
investor Novara re same.

10/10/06 L. Ernce Attention to revising and updating 0.60 279.00
Diversified Committee website.
10/11/06 M. Levinson Review email memorandum from 0.10 56.00

Diversified investors, the Fitzners, and
review the lengthy L. Ernce response
thereto.

10/11/06 L. Emce Review and respond to email from 0.20 93.00
investors Fitzner (.10); review investor list
(.10).

10/11/06 L, Ernce Attention to modifications to Diversified 0.50 232.50
Committee website.

10/11/06 L. Ernce Telephone call from Diversified Fund 0.20 93.00
investor Alcaro.
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10/12/06 M. Levinson Review email memorandum from 0.20 112.00

Diversified investor, K. Miller, review the
L. Ernce, J. Hermann and C. Harvick
follow-up email memoranda re the same
and review the L. Ernce email
memorandum to K. Miller (.10); review
the exchange of email memoranda
between L. Ernce and J. King, counsel for
a revocable trust that is a Diversified
investor, and review the lengthy L. Ernce
email memorandum to D. Medeiros (.10).

10/12/06 L. Ernce Long telephone call with investor Alcaro 1.80 837.00
(.30); review email from investor D.
Medeiros (.10); telephone call to investor
Medeiros (.40); obtain information and
draft follow-up email to investor D.
Medeiros to provide information (.20);
review and respond to J. King, counsel to
certain Diversified investors (.20); review
email from investor K. Miller (.10);
exchange emails with C. Harvick re
response to same (.10); email response to
investor K. Miller and review K. Miller
response with additional questions (.10);
telephone call from investor A. Scalleat
(.20); follow-up email memorandum to
investor A. Scalleat (.10).

10/12/06 J. Hermann Participate in exchange of email 0.30 171.00
correspondence with Diversified
Committee professionals regarding proper
manner of responding to email inquiries of
investors and posting of such responses to
committee informational website.

10/13/06 M. Levinson Review the lengthy email memorandum 0.20 112.00
from P. Rieger, the A. Landis email
memorandum to committee counsel re the
same and the A. Loraditch follow-up
email memorandum (.10); review the L.
Ernce and A. Loraditch email memoranda
re the L. Ernce telephone conversation
with Diversified investors, the Alcaros
(.10).

10/13/06 ~L. Emnce Exchange further emails with C. Harvick 0.20 93.00
re questions from investor K. Miller; email
to K. Miller and review her email
response.
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10/13/06 L. Ernce Review email from A. Landis forwarding 0.20 93.00
inquiries from investor P. Rieger and
conference with M. Levinson re same;
review S. Strong emailed response to A.
Landis.
10/13/06 L. Ernce Long telephone call with investors Mr. 0.60 - 279,00
and Mrs. Alcaro (.50); email memo to A.
Loraditch re same (.10).
10/16/06 L. Ernce Telephone call from investor R. Kerlinski 0.10 46.50
re proof of claim and proof of interest
forms.
10/16/06 M. Levinson Review email memorandum from 0.20 112.00

Diversified investor, P. Stone, re an error
in the Diversified Committee website,
email memorandum to L. Ernce re the
same and exchange a series of follow-up
email memoranda with L. Ernce and A.
Loraditch re fixing the problem and
related matters.
10/16/06 L. Ernce Review email from investor R. Maiorana 0.30 139.50
and review investor list (.10); email memo
to investor R. Maiorana responding to
inquiries (.10); review email from investor
K. Miller (.10).
10/16/06 L, Ernce Review email from M. Levinson re 0.40 186.00
responding to inquiry from investors and
related matters (.10); exchange emails
with M. Levinson re follow-up re same
(.10); draft email memo to investor P.
Stone responding to inquiries (.20).

10/16/06 L. Ernce Review debtors' and committee websites 0.70 325.50
and updating Diversified Committee
website.

10/18/06 M. Levinson Review lengthy email memorandum from 0.30 168.00

Diversified Investor P. Stone (.10);
exchange email memoranda with L. Emce
re responding to questions raised by such
email and review lengthy L. Ernce email
memorandum to P. Stone (.10); review
email memorandum from Diversified
Investor J. Miller, review the C. Harvick
response (.10).

10/18/06 L. Emnce Telephone call from investor M. Miselli 0.20 93.00
(.10); review emails from C. Harvick re
responses to latest inquiries from investor
K. Miller (.10).
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10/19/06 M. Levinson Exchange of email memoranda with A. 0.10 56.00
Loraditch and L. Ernce re posting
information on the Diversified Committee
website about the disallowance of the $20
million claim against the Diversified
Fund.
10/19/06 L. Ernce Review another inquiry from investor K. 1.30 604.50
Miller (.10); review inquiry from investor
G. Lewis (.10); email memo to investor G.
Lewis (.20); review and respond to
additional emails from investor G. Lewis
(.30); exchange emails with M. Tucker re
responses to latest K. Miller inquiry (.20);
review email from investor A. Papas and
email memo to Diversified professionals
re statements by A. Papas and formulating
a response (.20); review email from
investor A, Olsen and telephone
conference with M. Levinson re his receipt
of a similar email (.20).
10/20/06 L. Ernce Email memo to investor A. Olsen 0.10 46.50
responding to his inquiries.
10/20/06 M. Levinson Review the various drafts of the posting 0.30 168.00
on the Diversified Committee website of
the disallowance of the $20 million claim
and the numerous email memoranda from
L. Ernce, A. Loraditch, B. Olson and J.
Hermann re the same (.20); exchange of
follow-up email memoranda with L. Ernce
and A. Loraditch re posting the final
version and related matters (.10).
10/20/06 L. Emce Update Diversified Committee's website 0.60 279.00
to include latest debtors' monthly
operating reports, information on
disallowance of the Prospect High Income
Fund claim and other recent

developments.
10/21/06 L. Ernce Review email from investor D. Palmer. 0.10 46.50
10/21/06 M. Levinson Review email memoranda from a number 0.20 112.00

of Diversified investors, including P.
Papas, G. Lewis, A. Olson and K. Miller,
review the exchange of email memoranda
between M. Tucker and L. Ernce re
several of such email memoranda and
review the L. Ernce responses to several
of them.
10/23/06 L. Emce Telephone call from investor K. Woltz 0.30 139.50
(.20); review investor list and draft email
response to investor D. Palmer (.10).
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10/25/06 M. Levinson Telephone conversation with Diversified 0.10 56.00
Fund investor R. Sharpe.
10/26/06 L. Ernce Review various investor emails and 0.20 93.00
inquiries.
10/26/06 L. Ernce Exchange emails with A. Loraditch re her 0.10 46.50
communications with investors Alcaro.
10/27/06 L. Ernce Review emails from investors M. Ricci, 0.30 139.50

D.G. Menchetti and R. Ryan (.20); email
to M. Levinson re message from investor
D.G. Menchetti (.10).

10/27/06 M. Levinson Review the exchange of email memoranda 0.40 224.00
between creditors and investors, the
Riegers, and R. Charles re the motion to
convert, email the Riegers, R. Charles and
others and exchange brief follow-up email
memoranda with R. Charles (.20); lengthy
voicemail message from Diversified
investor, E. Johnson, brief telephone
conversation with L. Ernce re the same,
review exchange of L. Ernce and M.
Tucker email memoranda re the same

(.20).

10/27/06 L. Ernce Revise and update Diversified Committee 0.50 232.50
website.

10/27/06 L. Ernce Telephone conference with investor E. 0.20 93.00

Johnston re inquiries about tax issues
(.10); confer with M. Levinson re same,
email to M. Tucker and C. Harvick re
same and review M. Tucker response
(.10).
10/30/06 M. Levinson Telephone conversation with investor D. 0.20 112.00
Howard (.10); review L. Ernce email
memoranda to various Diversified Fund
investors including K. Wise and D.
Mesker (.10).
10/30/06 L. Ernce Review and respond to email from 0.60 279.00
investor G. Levites (.10); review and
respond to email inquiries from investors
Wise (.20); review and respond to email
inquiry from investor R. Ryan (.10);
telephone call from investor J. Abodeely
and email additional information per his
request (.20).

B154 — Meetings & Communications with the Creditors or Equity holders 17.50 8,511.00
Total
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Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 13.60 465.00 6,324.00
Jeffery D. Hermann 0.30 570.00 171.00
Marc A. Levinson 3.60 560.00 2,016.00

Total All Timekeepers 17.50 $486.34 $8,511.00
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Task B160 — Fee/Employment Applications

10/03/06 M. Levinson Review the draft order approving Orrick's 0.10 56.00
first interim fee application and the L.
Ernce email memorandum to A. Landis re
the same.

10/03/06 L. Ernce Draft and revise form of order approving 0.50 232.50
Orrick's fee application (.30); finalize
form of order approving Orrick's fee
application and email to A. Landis for
approval (.20).

10/04/06 L. Ernce Review emails from A. Landis approving 0.20 93.00
orders on Alvarez, Gordon & Silver and
Orrick fee applications (.10); emails with
A. Loraditch re lodging approved Orrick
order with court (.10).

10/05/06 L. Ernce Review Beckley Singleton's supplemental 0.10 46.50
Rule 2014 disclosure and email memo to
M. Levinson re same.

10/06/06 L. Emce Begin reviewing and editing Orrick's 1.00 465.00
prebill for September 2006.
10/06/06 L. Ernce Email memo to A. Loraditch re preparing 0.10 46.50

and filing application for reimbursement
of Diversified Committee member
expenses and timing issues.

10/09/06 L. Ernce Continue reviewing and revising Orrick's 2.70 1,255.50
September 2006 prebill (2.40); email
memo to J. Hermann re billing protocol
and review J. Hermann response (.10);
email memo to M. McAndrews re same
(.10); email memo to M. Levinson re
status of prebill review and next steps
(.10).

10/10/06 L. Ernce Review email and revised time entries for 1.60 744.00
M. McAndrews on Orrick's September '
prebill and email M. Levinson re status
(.10); draft and revise Diversified
Committee's application for
reimbursement of committee member
expenses (.50); email memo to A.
Loraditch re same and question about fund
availability (.10); review A. Loraditch
revised draft of application (.10); email
memo to A. Loraditch re finalizing and
filing application (.10); further review and
attention to Orrick's September fees and
expenses (.70).
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10/16/06 M. Levinson Review A. Landis objection to Orrick's 0.40 224.00
monthly fee statement for August (.20);
conference with L. Ernce and telephone
conversation with J. Hermann re
responding to the same (.10); review L.
Ernce email memorandum to A. Landis in
response to the U.S. Trustee's objection
(.10).
10/16/06 L. Ernce Review U.S. Trustee notices of objection 0.40 186.00
to monthly fee statements of multiple
estate professionals, including Orrick
(.20); review M. Levinson email re same
and next steps (.10); email memo to A.
Landis acknowledging receipt of objection
and requesting additional information
(.10).
10/18/06 L. Ernce Review and analysis of fee applications 1.80 837.00
and re responses to U.S. Trustee objection
to Orrick's monthly fee statement.
10/20/06 L. Emce Further review and analysis and re 1.20 558.00
responses to U.S. Trustee objection to
Orrick's monthly fee statement.
10/23/06 L. Ernce Continue to work on analysis of fee 0.80 372.00
applications and re responses to U.S.
Trustee objection to Orrick's monthly fee

statement.

10/24/06 M. Levinson Attention to Orrick's fee statement for the 1.50 840.00
month of September.

10/24/06 L. Ernce Review next version of Orrick's prebill for 1.20 558.00

September 2006 for purposes of preparing
Orrick's next monthly fee statement
(1.00); emails to J. Hermann re responding
to U.S. Trustee's objections to Orrick's
monthly statement (.10); email memo to
M. Levinson re status of Orrick
preparation for Orrick's next monthly fee
statement and related matters (.10).
10/25/06 M. Levinson Portion of conference with L. Ernce 0.30 168.00
devoted to finalizing Orrick's September
fee statement (.10); review the fee
statement pleading, including exhibits,
slightly revise the pleading and sign the
final version (.20).
10/25/06 M. Levinson Portion of conference with L. Ernce 0.10 56.00
devoted to the U.S. Trustee's comments to
Orrick's August fee statement.
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10/25/06 L. Emce Confer with M. Levinson re status and 0.60 279.00

strategy for response to U.S. Trustee
objection to Orrick's monthly fee
statement for August 2006 (.10); begin
drafting written response (.50).
10/25/06 L. Ernce Exchange emails with M. Levinson re 1.70 790.50
status of his review of Orrick bills for
purposes of preparing monthly fee
statement (.10); draft and revise Orrick's
monthly fee statement for September 2006
and exhibits (1.00); email to M. Levinson
re same (.10); review M. Levinson
comments and revise and finalize monthly
fee statement (.20); email Orrick's
monthly fee statement to reviewing parties
per interim fee procedures order (.10);
letters to Diversified Committee chair and
A. Landis re same (.20).
10/25/06 L. Ernce Email memo to A. Loraditch re Nevada 0.10 46.50
fee practice questions raised by U.S.
Trustee objection to Orrick's monthly fee
statement.
10/26/06 M. Levinson Conference with L. Ernce re responding to 0.20 112.00
the U.S. Trustee's objections to Orrick's
August statement (.10); review a series of
L. Ernce, B. Olson and A. Loraditch re
responding to two of the objections (.10).
10/26/06 L. Ernce Continue working on response to U.S. 2.50 1,162.50
Trustee objection to Orrick's monthly fee
statement including attention to expense
questions, research re fee caps in different
jurisdictions and emails with A. Loraditch
re Nevada fee practice (2.40); review
email from B. Olson re Nevada fee
practice (.10).
10/27/06 L. Ernce Email memo to J. Hermann re status of 1.10 511.50
response to A. Landis on objection to
Orrick's monthly fee statement and review
J. Hermann response (.10); conference
with M. Levinson re status of same (.10);
revise and finalize draft letter to A. Landis
responding to all objections (.80); email
memo to M. Levinson transmitting same
for comment (.10).

B160 — Fee/Employment Applications Total 20.20 9,640.00
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Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 17.60 465.00 8,184.00
Marc A. Levinson 2.60 560.00 1,456.00

Total All Timekeepers 20.20 $477.23 $9,640.00
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Task B170 — Fee/Employment Objections

10/02/06 L. Ernce Review exchange of emails from A. 0.20 93.00
Landis and others re proposed orders
approving Shea & Carlyon, Stutman
Treister & Glatt and Lewis and Roca fee
applications,
10/03/06 L. Ernce Review emails among professionals 0.20 93.00
including A. Landis and review revised
proposed orders granting Stutman,
Alvarez and other applications (.20).
10/04/06 L. Ernce Exchange emails with M. Levinson, A. 0.30 139.50
Loraditch and A. Parlen re status of Ray
Quinney monthly statement for August
(.20); review order approving First Trust
Deed Fund Committee expense
application (.10).
10/05/06 M. Levinson Review and analyze A. Jarvis email 0.40 224.00
memorandum re allocation of the fees of
the debtors’ professionals (.20); review
and analyze the draft order approving the
Ray Quinney interim application and the
proposed fee allocation compromise (.20).
10/05/06 L. Ernce Further emails with A. Loraditch and 0.10 46.50
Stutman attorneys re status of monthly fee
statements for Ray Quinney and related

matters.

10/05/06 ~L. Ernce Review draft order approving Mesirow's 0.10 46.50
first interim fee application.

10/06/06 M. Levinson Review lengthy E. Karasik email 0.40 224.00

memorandum to A. Jarvis re the proposed
Ray Quinney fee order and the allocation
of fees portion in particular (.20); review
the exchange of a number of follow-up
email memoranda from N. Peterman, S.
Freeman, C. Carlyon, E. Karasik and F.
Merola (.20).

10/06/06 L. Ernce Review multiple exchanges of emails 0.30 139.50
among E. Karasik, S$. Freeman, C. Carlyon
and N. Peterman re allocations contained
in proposed order approving Mesirow's
fee application and disagreements re same
(.20); exchange emails with A. Parlen re
monthly fee statements (.10).
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10/09/06 M. Levinson Further attention to the issue of allocation 1.40 784.00
of the debtors' professionals’ fees and
costs, including the review of many email
memoranda and several pleadings
including the USACM Committee's
objection, the responses thereto, the draft
form of order and the revised version of
the draft Ray Quinney order (.40);
telephone conversation with C. Harvick in
preparation for the upcoming call (.10);
long telephone conversation re allocation
with T. Allison, A. Jarvis, N. Peterman, F.
Merola, E. Karasik, S. Freeman and C.
Harvick (.50); follow-up conversation
with C. Harvick (.10); review the revised
form of Ray Quinney interim fee order
circulated by S. Freeman (.20); review G.
Gordon email commenting on the form of
order and the S. Freeman response thereto
(.10).

10/16/06 L. Emce Review form of order approving Ray 0.10 46.50
Quinney fee application.

10/17/06 M. Levinson Review last night's draft of the Ray 0.50 280.00
Quinney interim fee order, comparing it to
prior drafts (.20); review the proposed
Mesirow and Schwartzer interim orders
(.10); review the S. Smith, A. Loraditch
and other email memoranda re the forms
of order (.10); telephone conversation with
A. Loraditch and B. Olson re approving

the three forms of order (.10).

10/17/06 L. Ernce Review emails and proposed orders on 0.30 139.50
Mesirow, Ray Quinney and Schwartzer
McPherson fee applications (.20); review
emails from A. Loraditch and S. Freeman
re fee allocation issues (.10).

10/18/06 M. Levinson Review C. Carlyon, J. McPherson and E. 0.20 112.00
Karasik email memoranda re the proposed
orders approving and allocating the fees of
the debtors' professionals.

10/18/06 L. Emce Review exchanges of emails among E. 0.10 46.50
Karasik, C. Carlyon, J. McPherson and
others re fee allocation issues related to
order approving Schwartzer & McPherson
fee application.

10/23/06 L. Emce Review latest version of order approving 0.10 46.50
Mesirow's fee application; review email
from C. Carlyon re disapproval of order.
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10/25/06 L. Ernce Review objection by the First Trust Deed 0.20 93.00
Committee to the Schwartzer &
McPherson fee order based on over-
allocation of fees to the First Trust Deed
Fund; email memo to M. Levinson re
same (.20).
10/25/06 L. Ernce Review portions of monthly fee statements 0.30 139.50
filed by other estates' professionals.
BI170 — Fee/Employment Objections Total 5.20 2,693.50
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 2.30 465.00 1,069.50
Marc A. Levinson 2.90 560.00 1,624.00

Total All Timekeepers 5.20. $517.98 $2,693.50
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Task B210 — Business Operations

10/23/06 L. Ernce Review First Trust Deed Committee's 0.20 93.00
objection to fourth revised budget in light
of court's not yet approving stipulated
extension of time to respond and email
memo to Diversified Committee
professionals summarizing objection.

10/27/06 L. Ernce Review debtors’ reply brief in support of 0.20 93.00
cash collateral motion and fourth revised
budget.
B210 — Business Operations Total 0.40 186.00
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 0.40 465.00 186.00

Total All Timekeepers 0.40 $465.00 $186.00
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Task B220 — Employee Benefits/Pensions

10/13/06 L. Ernce Review form of proposed order granting 0.10 46.50
debtors’ motion to freeze pension plan.

10/23/06 L. Emce Review reply brief in support of debtors! 0.10 46.50
employee retention motion.

10/31/06 L. Ernce Review form of order approving employee 0.10 46.50
retention plan motion.

B220 — Employee Benefits/Pensions Total 0.30 139.50
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 0.30 465.00 139.50

Total All Timekeepers 0.30 $465.00 $139.50
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Task B230 — Financing/Cash Collections

10/05/06 M. Levinson Initial review of the debtors’ motion to use 0.20 112.00
cash through January 2007.
10/05/06 L. Ernce Review debtors’ motion for continued use 0.20 93.00

of cash collateral per fourth revised budget
and email memo to Diversified Committee
professionals re same and debtors’
anticipated timing for filing fourth revised
budget.
10/11/06 M. Levinson Review the draft stipulation re briefing 0.20 112.00
schedule for the motion for continued use
of cash, review the numerous follow-up
email memoranda from various counsel re
the same and exchange email memoranda
with A. Loraditch re the same.
10/11/06 M. Levinson Review R. Charles draft stipulation re the 0.20 112.00
debtors’ proposed budget through January
31st and the A. Loraditch, C. Carlyon, C.
Pajak and L. Schwartzer follow-up email
memoranda.
10/20/06 L. Emce Review debtors’ fourth revised budget 0.20 93.00
filed today and email to Diversified
Committee professionals re same.
10/27/06 M. Levinson Review the debtors’ reply memorandum re 0.50 280.00
the motion to use cash (.20); review and
respond to a number of J. Hermann and
M. Tucker follow-up email memoranda re
the same (.20); telephone conversation
with J. Hermann re the same (.10).

B230 — Financing/Cash Collections Total 1.50 802.00
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 0.40 465.00 186.00
Mare A. Levinson 1.10 560.00 616.00

Total All Timekeepers 1.50 $534.67 $802.00
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Task B310— Claims Administration and Objections

10/04/06 J. Hermann Consideration and analysis of issues 0.30 171.00
involved in Diversified Committee filing
proof of claim against USACM and
content of such proof of claim (.20);
telephone conference with L. Ernce and C.
Harvick regarding issues in connection
with the same (.10).

10/06/06 M. Levinson Initial review of the motion re 0.20 112.00
intercompany claims.
10/06/06 L. Ernce Review debtors' intercompany claims 0.20 93.00

motion (.10); email memo to Diversified
Committee professionals summarizing
relief sought (.10).
10/07/06 M. Levinson Review and analyze lengthy R. Charles 0.20 112.00
email memorandum re the intercompany
claims motion.
10/09/06 M. Levinson Exchange a series of email memoranda 0.20 112.00
with R. Charles, S. Freeman and E.
Karasik re next steps with respect to the
debtors' intercompany claim motion (.10);
exchange a series of email memoranda
with A. Landis, G. Gordon, R. Charles, S.
Freeman and E. Karasik re shortening time
on such motion (.10).
10/09/06 L. Ernce Review A. Loraditch email memo re 0.10 46.50
debtors’ intercompany claims motion and
related issues.
10/10/06 M. Levinson Further review and analysis of the debtors' 0.60 336.00
motion regarding the filing of
intercompany claims in preparation for
this afternoon's call re the same (.30);
portion of telephone conversation with E.
Karasik and S. Freeman re responding to
the motion (.20); review lengthy R.
Charles email memorandum to A. Landis
re the same (.10).
10/11/06 L. Ernce Email and telephone conference with A. 0.20 93.00
Loraditch re filing claim objection to
proofs of claim filed by equity investors
and email latest Diversified Fund investor
mailing list received from BMC Group.
10/11/06 ~L. Ernce Review A. Loraditch email memo and 0.20 93.00
attachment re Diversified Fund's claim
against USA Commercial and setoff
research.
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10/18/06 M. Levinson Review A. Landis email memorandum re 0.20 112.00

the U.S. Trustee's revised position on the
intercompany claims motion, review the
R. Charles response thereto and review the
G. Garman email memorandum re the
same (.10); review the E. Karasik revised
version of the joint committee response to
the intercompany claims motion (.10).
10/19/06 M. Levinson Review the A. Loraditch, B. Olson and J. 0.10 56.00
Hermann email memoranda re the
disallowance at today's hearing of the
Prospect High Income Fund $20 million
claim and respond thereto.
10/19/06 L. Ernce Exchange emails with Diversified 0.20 93.00
Committee professionals re the filing of
claims against other debtors by the
Diversified Fund and related matters.
10/19/06 L. Emce Review A. Loraditch email re the 0.20 93.00
disallowance of the Prospect High Income
Fund claim and exchange emails with A.
Loraditch, M. Levinson and R. Olson re
drafting informational sheet/press release
for posting on website and providing to
news reporters.
10/20/06 M. Levinson Review J. Hermann and A. Loraditch 0.10 56.00
email memoranda re dealing with various
proofs of claim and interest filed by
Diversified investors.
10/20/06 L. Ernce Further exchange of emails with A. 1.30 604.50
Loraditch re press release document about
denial of the Prospect High Income Fund
claim and suggestions re information to
include (.20); review emails from J.
Hermann and A. Loraditch re updated
proof of claim against Diversified Fund
(.10); review and revise draft press release
and email memo to A. Loraditch and B.
Olson re additional comments and
suggestions (.50); exchange emails with
A. Loraditch, B. Olson, M. Levinson and
J. Hermann re draft press release
modifications (.30); revise and finalize
press release (.20).
10/25/06 M. Levinson Portion of conference with L. Ernce 0.10 56.00
devoted to the intercompany claims
motion and the four-committee stipulation
re the same.
10/25/06 L. Ernce Confer with M. Levinson re motion and 0.10 46.50
stipulation on intercompany claims.
